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                                                           IN THE UNITED STATES DISTRICT COURT
                                                              EASTERN DISTRICT OF ARKANSAS
                                                                    WESTERN DIVISION

                             UNITED STATES OF AMERICA

                                       vs.                             No.y ·.\"SC,(.O       ®.q- ~
                             t'oJfAtte-\ ~·0_~
                                                     WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                                        AND ENTRY OF PLEA OF NOT GUILTY
                                              (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                                     NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
                             hereby acknowledges the following:

                             I)        Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                                       information in this case. Defendant understands the nature and substance of the charges contained
                                       therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                                       advised of all of the above by his/her attorney.

                             2)        Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                                       for arraignment in open court on this accusation. Defendant further understands that, absent the
                                       present waiver, he/she will be so arraigned in open court.

                             Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
                             his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
                             information, and by this instrument tenders a plea of"not guilty." The defendant understands that entry by
                             the Court of said plea for defendant will conclude the arraignment in this case for all purposes.


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                                       Date                                     Defendant's Sig~

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                                                                        ORDER OF COURT

                                           The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                                           plea of not guilty is entered for the defendant effective this date.




       ~~Rf"<K                         All Counsel of Record
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